                IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                    CIVIL CASE NO. 1:15-cv-00109-MR


SANDRA M. PETERS, on behalf of   )
herself and all others similarly )
situated,                        )
                                 )
                   Plaintiff,    )
                                 )
      vs.                        )                       ORDER
                                 )
AETNA INC., AETNA LIFE           )
INSURANCE COMPANY, and           )
OPTUMHEALTH CARE SOLUTIONS, )
INC.,                            )
                                 )
                   Defendant.    )
________________________________ )

        THIS MATTER is before the Court on the parties’ “Joint Notice of

Settlement in Principle and Request to Suspend Pre-Trial Deadlines” [Doc.

310].

        This matter is scheduled for trial during the January 13, 2025 trial term,

and a pretrial conference is scheduled for December 18, 2024. By the

present Notice, the parties advise the Court that they have reached

“agreement on a settlement in principle” and ask the Court to suspend all

current pretrial deadlines. [Doc. 310].




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        In order for this case to be removed from the calendar, the parties must

file a settlement memorandum (i.e., a “term sheet”) that sets out the material

terms of the parties’ agreement such that the Court can enforce the

agreement and proceed accordingly with this case. The parties shall have

through the close of business on Wednesday, December 4, 2024, to file a

settlement memorandum. Failure to file a settlement memorandum by that

time will result in the case remaining on the calendar for a final pretrial

conference on December 18, 2024. The settlement memorandum may be

filed under seal without an accompanying motion to seal.

        IT IS, THEREFORE, ORDERED that the parties’ request to suspend

all pretrial deadlines [Doc. 310] is DENIED WITHOUT PREJUDICE. The

parties shall have through the close of business on Wednesday, December

4, 2024, to file a settlement memorandum.             Failure to file a settlement

memorandum by that time will result in the case remaining on the calendar

for a final pretrial conference on December 18, 2024.               The settlement

memorandum may be filed under seal without an accompanying motion to
                                         Signed: November 7, 2024
seal.

        IT IS SO ORDERED.




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